        Case 1:15-cv-01091-BAH Document 18 Filed 08/24/16 Page 1 of 32



                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


LAURA POITRAS,

                              Plaintiff,
       v.
                                                  Civil Action No. 15-cv-01091-KBJ
DEPARTMENT OF HOMELAND                                  )
SECURITY, DEPARTMENT OF                                 )
JUSTICE, and OFFICE OF THE DIRECTOR
OF NATIONAL INTELLIGENCE,

                              Defendants.


             PLAINTIFF’S CROSS-MOTION FOR SUMMARY JUDGMENT

       Plaintiff Laura Poitras (“Plaintiff”) hereby cross-moves for summary judgment with

respect to Defendant Department of Justice (“DOJ”) component Federal Bureau of

Investigation’s (“FBI”) and Defendant Department of Homeland Security (“DHS”) component

U.S. Customs and Border Protection’s (“CPB”) withholding of agency records responsive to

Plaintiff’s Freedom of Information Act (“FOIA”) request. Plaintiff respectfully refers the Court

to the accompanying memorandum of points and authorities in support of this cross-motion.



Dated: August 24, 2016                            Respectfully Submitted,

                                                  /s/ David L. Sobel           l
                                                  DAVID L. SOBEL
                                                  D.C. Bar No. 360418
                                                  Electronic Frontier Foundation
                                                  5335 Wisconsin Avenue, N.W.
                                                  Suite 640
                                                  Washington, DC 20015
                                                  (202) 246-6180




                                              -1-
      Case 1:15-cv-01091-BAH Document 18 Filed 08/24/16 Page 2 of 32



                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


LAURA POITRAS,

                      Plaintiff,
     v.
                                      Civil Action No. 15-cv-01091-KBJ
DEPARTMENT OF HOMELAND                      )
SECURITY, DEPARTMENT OF                     )
JUSTICE, and OFFICE OF THE DIRECTOR
OF NATIONAL INTELLIGENCE,

                      Defendants.



 MEMORANDUM IN OPPOSITION TO DEFENDANTS’ MOTION FOR SUMMARY
JUDGMENT AND IN SUPPORT OF PLAINTIFF’S CROSS-MOTION FOR SUMMARY
                           JUDGMENT
            Case 1:15-cv-01091-BAH Document 18 Filed 08/24/16 Page 3 of 32




                                                   TABLE OF CONTENTS


INTRODUCTION .......................................................................................................................... 1

STATEMENT OF FACTS ............................................................................................................. 2

    I.    Plaintiff Was Routinely Stopped, Detained, and Questioned During
          International Travel Between 2006 and 2012. .................................................................... 2

   II.    Plaintiff’s FOIA Requests ................................................................................................... 7

   III. Procedural History .............................................................................................................. 8

ARGUMENT .................................................................................................................................. 9

    I.    FOIA Establishes a Presumption of Disclosure, and the Government Bears the
          Burden of Proving Withheld Information is Clearly Exempt. ............................................ 9

   II.    FBI Has Improperly Withheld Records Under Exemption 5............................................ 11

   III. FBI Has Improperly Withheld Records Under Exemption 7............................................ 14

   IV. FBI and CBP Have Failed to Segregate and Release Non-Exempt Information. ............. 18

   VI. CBP Has Failed to Conduct a Sufficient Search for Records. .......................................... 20

CONCLUSION ............................................................................................................................. 23




                                                                      i
             Case 1:15-cv-01091-BAH Document 18 Filed 08/24/16 Page 4 of 32



                                                TABLE OF AUTHORITIES

                                                                   Cases	  
Ancient Coin Collectors Guild v. Dep’t of State,
  641 F.3d 504 (D.C. Cir. 2011) .................................................................................................. 22

Birch v. USPS,
  803 F.2d 1206 (D.C. Cir. 1986) ................................................................................................ 10

Black v. Sheraton Corp. of America,
  371 F. Supp. 97 (D.D.C. 1974) ................................................................................................. 15

Campbell v. Dep’t of Justice,
  164 F.3d 20 (D.C. Cir. 1998) .................................................................................................... 21

Celotex Corp. v. Catrett,
  477 U.S. 317 (1986) .................................................................................................................. 10

Center for Auto Safety v. Environmental Protection Agency,
  731 F.2d 16 (D.C. Cir. 1984) .................................................................................................... 19

Citizens for Responsibility & Ethics v. Dep’t of Homeland Sec.,
  648 F. Supp. 2d 152 (D.D.C. 2009) .......................................................................................... 14

Coastal States Gas Corp. v. Dep’t of Energy,
  617 F.2d 854 (D.C. Cir. 1980) .................................................................................................. 13

Concepcion v. U.S. Customs & Border Prot.,
  767 F. Supp. 2d 141 (D.D.C. 2011) .................................................................................... 21, 23

Dep’t of Air Force v. Rose,
  425 U.S. 352 (1976) .................................................................................................................... 9

Dep’t of Interior v. Klamath Water Assn.,
  532 U.S. 1 (2001) ........................................................................................................................ 9

Dep’t of Justice v. Reporters Comm.,
  489 U.S. 749 (1989) .................................................................................................................... 9

Dep’t of Justice v. Tax Analysts,
  492 U.S. 136 (1989) .................................................................................................................... 9

Duenas Iturralde v. Comptroller of the Currency,
  315 F.3d 311 (D.C. Cir. 2003) ............................................................................................ 20, 21

Electronic Frontier Foundation v. Dep’t of Justice,
  141 F. Supp. 3d 51 (D.D.C. 2015) (“EFF I”), appeal dismissed No. 15-5346, 2016 WL
  3041648 (D.C. Cir. Apr. 27, 2016) ........................................................................................... 10


                                                                      ii
            Case 1:15-cv-01091-BAH Document 18 Filed 08/24/16 Page 5 of 32



Electronic Frontier Foundation v. Dep’t of Justice,
  826 F. Supp. 2d 157 (D.D.C. 2011) (“EFF II”) .................................................................. 12, 13

Environmental Protection Agency v. Mink,
  410 U.S. 73 (1973) .................................................................................................................... 12

Founding Church of Scientology of Washington, D.C., Inc. v. Nat’l Sec. Agency,
  610 F.2d 824 (D.C. Cir. 1979) .................................................................................................. 20

Friends of Blackwater v. Dep’t of the Interior,
  391 F. Supp. 2d 115 (D.D.C. 2005) .......................................................................................... 22

Harrison v. Exec. Office of U.S. Attorneys,
  377 F. Supp. 2d 141 (D.D.C. 2005) .......................................................................................... 10

Johnson v. Exec. Office for U.S. Attorneys,
  310 F.3d 771 (D.C. Cir. 2002) .................................................................................................. 19

Jordan v. Dep’t of Justice,
  591 F.2d 753 (D.C. Cir. 1978) .................................................................................................. 11

Judicial Watch v. Dep’t of Homeland Sec.,
  857 F. Supp. 2d 129 (D.D.C. 2012) .......................................................................................... 22

Judicial Watch v. Dep’t of Justice,
  365 F.3d 1108 (D.C. Cir. 2004) ................................................................................................ 14

Judicial Watch, Inc. v. Dep’t of Homeland Security,
  841 F. Supp. 2d 142 (D.D.C. 2012) .................................................................................... 19, 20

*Judicial Watch, Inc. v. U.S. Postal Serv.,
  297 F. Supp. 2d 252 (D.D.C. 2004) .............................................................................. 11, 12, 13

Kamman v. Internal Revenue Service,
  56 F.3d 46 (9th Cir. 1995) ........................................................................................................ 10

King v. Dep’t of Justice,
  830 F.2d 210 (D.C. Cir. 1987) ............................................................................................ 11, 15

Lamont v. Dep’t of Justice,
  475 F. Supp. 761 (S.D.N.Y. 1979) ..................................................................................... 15, 18

Mead Data Cent., Inc. v. Dep’t of Air Force,
 566 F.2d 242 (D.C. Cir. 1977) ............................................................................................ 10, 19

Nat’l Labor Relations Bd. v. Robbins Tire & Rubber Co.,
  437 U.S. 214 (1978) .................................................................................................................... 9




                                                                    iii
            Case 1:15-cv-01091-BAH Document 18 Filed 08/24/16 Page 6 of 32



Nat’l Labor Relations Bd. v. Sears, Roebuck & Co.,
  421 U.S. 132 (1975) .................................................................................................................. 12

Nation Magazine v. U.S. Customs Serv.,
  71 F.3d 885 (D.C. Cir. 1995) .............................................................................................. 20, 23

Oglesby v. Dep’t of Army,
  79 F.3d 1172 (D.C. Cir. 1996) .................................................................................................. 19

Oglesby v. Dep’t of Army,
  920 F.2d 57 (D.C. Cir. 1990) .............................................................................................. 20, 22

People for the Ethical Treatment of Animals, Inc. v. Bureau of Indian Affairs,
  800 F. Supp. 2d 173 (D.D.C. 2011) .......................................................................................... 21

Petroleum Info. Corp. v. Dep’t of Interior,
  976 F.2d 1429 (D.C. Cir. 1992) .......................................................................................... 12, 14

*Pratt v. Webster,
  673 F.2d 408 (D.C. Cir. 1982) ................................................................................ 15, 16, 17, 18

Quarles v. Dep’t of Navy,
  893 F.2d 390 (D.C. Cir. 1990) ............................................................................................ 12, 14

Quinon v. Federal Bureau of Investigation,
  86 F.3d 1222 (D.C. Cir. 1996) ............................................................................................ 10, 17

Shapiro v. Dep’t of Justice,
  37 F. Supp. 3d 7 (D.D.C. 2014) .......................................................................................... 16, 17

Stolt-Nielsen Transp. Grp. Ltd. v. United States,
  534 F.3d 728 (D.C. Cir. 2008) .................................................................................................. 19

Trans-Pac. Policing Agreement v. U.S. Customs Serv.,
  177 F.3d 1022 (D.C. Cir. 1999) ................................................................................................ 19

Valencia-Lucena v. U.S. Coast Guard,
  180 F.3d 321 (D.C. Cir. 1999) ............................................................................................ 20, 21

Vaughn v. Rosen,
  523 F.2d 1136 (D.C. Cir. 1975) (“Vaughn II”)......................................................................... 11

Vaughn v. Rosen, 484 F.2d 820 (D.C. Cir. 1973) (“Vaughn I”)................................................... 10

Vymetalik v. Federal Bureau of Investigation,
  785 F.2d 1090 (D.C. Cir. 1986) ................................................................................................ 16

Weisberg v. Dep’t of Justice,
 705 F.3d 1344 (D.C. Cir. 1983) ................................................................................................ 10

                                                                    iv
             Case 1:15-cv-01091-BAH Document 18 Filed 08/24/16 Page 7 of 32



Weisberg v. Dep’t of Justice,
 745 F.2d 1476 (D.C. Cir. 1984) ................................................................................................ 21

Weissman v. CIA,
 565 F.2d 692 (D.C. Cir. 1977) .................................................................................................. 15

                                                                 Statutes	  
18 U.S.C. § 2331 ........................................................................................................................... 16

18 U.S.C. § 2385 ..................................................................................................................... 16, 17

28 U.S.C. § 533 ............................................................................................................................. 16

28 U.S.C. § 534 ............................................................................................................................. 16

5 U.S.C. § 552 ......................................................................................................................... 1, 6, 8

5 U.S.C. § 552(a)(4)(B) ................................................................................................................ 10

5 U.S.C. § 552(b) ...................................................................................................................... 9, 18

5 U.S.C. § 552(b)(7) ..................................................................................................................... 14

                                                         Other Authorities	  
Glenn Greenwald, U.S. filmmaker repeatedly detained at border,
  Salon.com (Apr. 8, 2012)...................................................................................................... 3, 18

Mike Fleming, Jr., Documentary Directors Protest Homeland Security Treatment of
 Helmer Laura Poitras (Apr. 9, 2012) ......................................................................................... 3

TSA, Screening Management Standard Operating Procedures (May 28, 2008) ............................ 4

Wikipedia, No Fly List ................................................................................................................... 5

Wikipedia, Secondary Security Screening Selection ...................................................................... 4

                                                                   Rules	  
Fed. R. Civ. P. 56(a) ....................................................................................................................... 9




*Authorities on which we chiefly rely are marked with asterisks.




                                                                       v
           Case 1:15-cv-01091-BAH Document 18 Filed 08/24/16 Page 8 of 32




                                         INTRODUCTION
         This case arises out of Plaintiff Laura Poitras’ (“Plaintiff”) experience being stopped,
detained, and/or questioned at the U.S. border for every international flight she took entering the
country between July 2006 and April 2012. Plaintiff, a U.S. citizen and award-winning
documentary filmmaker, journalist, and artist who has covered the U.S. military occupation of
Iraq and Guantanamo Bay Prison, frequently travels internationally for her work. During the six-
year period, she was subject to airport detentions at the U.S. border on almost 40 occasions and
multiple times while in transit overseas. She was also subjected to heightened security
screenings, also known as “Secondary Security Screening,” at airport security checkpoints
during domestic flights and international flights originating in the United States on roughly 50
occasions. This treatment ended in June of 2012, following the publication of an article on
Salon.com about her experiences and the submission of a petition by documentary filmmakers
protesting her treatment. Plaintiff, who has no criminal record and was never provided with any
rationale for her treatment, sought information concerning the government’s actions through the
Freedom of Information Act (“FOIA”), 5 U.S.C. § 552.
         This FOIA lawsuit challenges the Defendants’ withholding of records it possesses
concerning Poitras and her repeated border stops and detentions. Of the 271 currently disputed
pages, the Federal Bureau of Investigation (“FBI”), Defendant Department of Justice’s (“DOJ”)

component, withholds 19 pages in full, while the remaining 252 pages are heavily redacted. FBI
asserts FOIA Exemption 5 (deliberative process privilege; 4 redacted pages) and Exemption 7
(records compiled for law enforcement; 252 redacted pages1 and the 19 withheld pages). FBI has
failed to prove it may withhold the disputed information under Exemptions 5 and 7 and has
failed to segregate and release non-exempt information, such as non-exempt facts. Meanwhile,
CPB has failed to conduct a sufficient search of its records.



1
    The 4 pages containing Exemption 5 redactions also include Exemption 7 redactions.



                                                 -1-
         Case 1:15-cv-01091-BAH Document 18 Filed 08/24/16 Page 9 of 32




       Plaintiff challenges the FBI’s withholdings under Exemptions 7(A), 7(D), and 7(E).
Plaintiff does not contest the withholdings of U.S. Customs and Border Protection (“CPB”),
component of Defendant Department of Homeland Security (“DHS”), (although, as described
below, Plaintiff does challenge the sufficiency of CBP’s search), the Transportation Security
Administration (“TSA”), and Defendant Office of the Director of National Intelligence
(“ODNI”), or FBI’s withholding solely under Exemptions 1, 3, 6 and 7(C). Finally Plaintiff does
not contest Immigration and Customs Enforcement’s (“ICE”), U.S. Citizenship and Immigration
Services’ (“USCIS”), or DHS’s failure to produce any response records.
       The Court should grant Plaintiff’s motion for summary judgment, order FBI to disclose
all of the disputed information, and order CBP to conduct a more thorough search of its records
and disclose the additional responsive records it finds.
                                      STATEMENT OF FACTS

I.     Plaintiff Was Routinely Stopped, Detained, and Questioned During International
       Travel Between 2006 and 2012.

       Plaintiff has been documenting post-9/11 America for the past decade. Her work has
received many awards. Most recently, Plaintiff received the 2015 Academy Award for
Documentary Feature, along with various other awards, for her film CITIZENFOUR, a
documentary about whistleblower and former NSA contractor Edward Snowden. Her other
works include My Country, My Country (2006), an Oscar-nominated documentary film about the
U.S. military occupation of Iraq; and The Oath (2010), a documentary film about Guantanamo
Bay Prison military commissions nominated for two Emmy awards. Her reporting on the
National Security Agency (“NSA”) received the George Polk Award for national security
journalism and shared in the 2014 Pulitzer Prize for Public Service. Plaintiff frequently travels
internationally for her work, particularly to the Middle East and Europe. Declaration of Laura
Poitras (“Poitras Decl.”), ¶¶ 1–2 .
       Plaintiff was first detained on July 12, 2006, while she was traveling from Jerusalem to
Newark International Airport (“Newark”) after attending the Jerusalem Film Festival, where her


                                                -2-
        Case 1:15-cv-01091-BAH Document 18 Filed 08/24/16 Page 10 of 32




film My Country, My Country was screened. Plaintiff was initially detained and questioned at
Ben Gurion International Airport by Israeli airport security for about a half hour prior to her
departure. Then, upon her arrival at Newark, she was met by CBP agents at the gate, where the
agents had set up a “hard stand” to check the passport of each passenger getting off the plane.
Plaintiff was thereafter escorted to a holding room, where she was detained and questioned for
roughly two hours, and where her bags were searched, before being allowed to enter the United
States. Poitras Decl. ¶¶ 4, 7.
        For the next six years, Plaintiff was detained and questioned, and her bags were searched,
at the U.S. border every time she entered the country, and occasionally while outside the United
States in the course of international travel. She was also detained and questioned once in the
United States before a flight to Dubai. Between July 2006 and June 2012, Plaintiff was detained,
questioned, and searched—sometimes for hours at a time—almost 40 times at the U.S border and
multiple times while in transit overseas. Poitras Decl. ¶¶ 5–6.
        During these detentions, border agents routinely made photocopies of her travel
documents, and on approximately ten occasions, border agents also made photocopies of
Plaintiff’s reporter’s notebooks and/or the contents of her pockets and wallet, including notes,
receipts, business cards, and/or credit cards. Poitras Decl. ¶ 52.
        Plaintiff’s detentions ended in June 2012, following the publication of an article by

journalist Glenn Greenwald on Salon.com about Plaintiff’s experiences. Poitras Decl. ¶ 8.2 The
Salon article also prompted a group of documentary filmmakers to send DHS a petition
protesting Plaintiff’s treatment. Poitras Decl. ¶ 8.3

2
 See also Glenn Greenwald, U.S. filmmaker repeatedly detained at border, Salon.com (Apr.
8, 2012), available at https://www.salon.com/2012/04/08/u_s_filmmaker_repeatedly_detained_at
_border/ (last visited July 25, 2015).
3
 See also Mike Fleming, Jr., Documentary Directors Protest Homeland Security Treatment of
Helmer Laura Poitras (Apr. 9, 2012), https://deadline.com/2012/04/documentary-directors-
protest-homeland-security-treatment-of-helmer-laura-poitras-254291/ (last visited July 25,
2016).



                                                 -3-
        Case 1:15-cv-01091-BAH Document 18 Filed 08/24/16 Page 11 of 32




       During this same period, for both domestic flights and international flights leaving the
United States, Plaintiff routinely could not receive her boarding pass until after an airline agent
personally called DHS from the check-in counter. Plaintiff’s boarding passes were thereafter
marked “SSSS”—indicating her status as Secondary Security Screening Selectee4—and she was
thereafter subjected to increased security screening at TSA security checkpoints. In the case of
domestic travel, her selection for Secondary Security Screening initially lasted only for a few
months, until October 2006, but routine Secondary Security Screenings during domestic travel
resumed again a few years later. Her subjection to heightened screenings during purely domestic
travel did not fully cease until June 2012, the same point at which her international detentions
stopped. Poitras Decl. ¶¶ 9–10.
       Beginning in mid-2011, when Plaintiff began work on a documentary about Julian
Assange and WikiLeaks, U.S. authorities started to question Plaintiff in Europe before she was
able to obtain her boarding pass to return to the United States, in addition to detaining,
questioning, and searching her upon her arrival in the United States. For example, on April 5,
2012, while traveling from London to Newark after filming with Julian Assange, Plaintiff was
questioned by U.S. authorities in London before being issued a boarding pass and also detained,
questioned, and searched upon her arrival in the United States. During the course of her
detention at Newark, several security officers repeatedly threatened to handcuff Plaintiff for

attempting to take notes, claiming her pen could be used as a weapon. Poitras Decl. ¶ 11.
       Including both her domestic travel and international travel, Plaintiff was subject was
subject to Secondary Security Screening on roughly 50 occasions. Poitras Decl. ¶ 12.



4
  See TSA, Screening Management Standard Operating Procedures, p. 4-13 (May 28, 2008),
available at https://cryptome.org/2013/01/tsa-screening-mgmt-sop.pdf (last visited Aug. 24,
2016) (confirming that “SSSS” indicates a “selectee marking” for a heightened screening
process); see also Wikipedia, Secondary Security Screening Selection, https://en.wikipedia.org/w
iki/Secondary_Security_Screening_Selection#cite_note-TSA-1 (last visited Aug. 24, 2016)
(depicting a boarding pass of a passenger selected for Secondary Security Screening).



                                                -4-
       Case 1:15-cv-01091-BAH Document 18 Filed 08/24/16 Page 12 of 32




       The following non-inclusive list provides a few additional examples of Plaintiff’s
experiences being detained and questioned between 2006 and 2012:

   •   On August 22, 2006, while traveling from Sarajevo to JFK after attending the Sarajevo
       Film Festival, Plaintiff was detained at the Vienna International Airport by Austrian
       airport security. She was transported to a holding area, where her bags were searched and
       x-rayed. An Austrian security agent told her that she had been assigned a “Threat Score”
       of 400 out of 400 points by U.S. authorities. Plaintiff was eventually allowed to board a
       plane to the United States. Upon her arrival at JFK, CBP agents again met her at the gate,
       escorted her to a holding room, searched her bags a second time, and questioned her for
       roughly 2 hours before she was allowed to enter the United States. Poitras Decl. ¶ 14.

   •   On November 26, 2006, upon her arrival at Newark after a flight from Paris, Plaintiff was
       met by CBP agents and detained and questioned for 30 minutes while her bags were
       searched. Poitras Decl. ¶ 15.

   •   On December 17, 2006, upon her arrival at JFK after a flight from Dubai, where she had
       attended the Dubai Film Festival, Plaintiff was met by border agents and detained and
       questioned before being allowed entry into the United States. The CBP agents asked
       Plaintiff when she had last been to Atlanta, Georgia and told her that she had a criminal
       record, despite that she had no such record. Poitras Decl. ¶ 16.

   •   On March 19, 2007, upon her arrival at Washington Dulles International Airport after a
       flight from London, where she had after attended a conference on Guantanamo Bay
       Prison, Plaintiff was detained and questioned, and her bags were searched. Poitras Decl. ¶
       17.

   •   On March 31, 2007, while traveling from Canada to LaGuardia Airport after conducting
       a documentary workshop, Plaintiff was detained, questioned, and searched before being
       allowed to board the plane. Poitras Decl. ¶ 18.

   •   On May 26, 2007, while traveling from Yemen via Jordan to JFK after filming families
       of Guantanamo prisoners, CBP agents met Plaintiff at the gate upon her arrival in New
       York. She was detained and questioned, and all of her journalist notebooks, receipts,
       business cards, and credit cards were photocopied. Poitras Decl. ¶ 19.

   •   On June 12, 2007, while traveling from Jordan to JFK after leading a filmmaking
       workshop in Amman, Plaintiff was detained, questioned, and searched after her flight,
       and all of her credit cards and receipts were photocopied. Poitras Decl. ¶ 20.

   •   On February 10, 2010, while traveling from JFK to Berlin, Germany to attend the Berlin
       Film Festival, Plaintiff was told by airport security agents at JFK that she was on the No




                                              -5-
        Case 1:15-cv-01091-BAH Document 18 Filed 08/24/16 Page 13 of 32



        Fly List, a list maintained by FBI’s Terrorist Screening Center.5 After Plaintiff’s former
        lawyer call the U.S. Department of State, Plaintiff was eventually permitted to board her
        flight. While departing Berlin several days later, on February 16, 2010, Plaintiff was
        again told by airline representatives that she was on the No Fly List, though she was
        eventually again allowed to board her flight. Upon her arrival at JFK, she was detained
        and questioned for over one hour and her bags were searched. Poitras Decl. ¶ 33.

    •   On August 1, 2010, upon arriving at JFK after a flight from Yemen via Dubai, CBP
        agents confiscated Plaintiff’s digital devices. She was detained and questioned, as usual,
        by CBP agents. During the course of her detention, her laptop, video camera, media
        containing footage, and cellphone were taken and held for 41 days. Poitras Decl. ¶ 35.

    •   On August 13, 2011, upon her arrival at Newark after a flight from Berlin, Plaintiff was
        detained and questioned for almost one hour and her bags were searched. Poitras Decl.
        ¶ 42.

    •   On August 29, 2011, upon her arrival at JFK after a flight from Berlin, Plaintiff was
        detained and questioned for more than an hour and a half and her bags were searched.
        Poitras Decl. ¶ 43.

    •   On September 10, 2011, upon her arrival at Newark after a flight from London, Plaintiff
        was detained and questioned for over one hour and her bags were searched. Poitras Decl.
        ¶ 44.

    •   On June 1, 2012, upon her arrival at Newark after a flight from London, Plaintiff was
        again detained, questioned, and searched. Poitras Decl. ¶ 51.

        These examples represent only a few of the almost 40 instances in which Plaintiff was
detained, questioned, and searched during the course of international travel between July 2006
and June 2012. See Poitras Decl. ¶¶ 4, 5–6, 13–51.
        In the fall of 2012, Plaintiff moved to Berlin, Germany, as a direct result of her detentions
at the U.S. border. She did not move back to the United States until the spring of 2015, almost
three years after the detentions ceased. Poitras Decl. ¶ 53.
        Plaintiff believes that she has been targeted for adverse treatment due to the subject
matter of her documentary films and journalism, which have presented a critical perspective on
U.S. policies and practices adopted post-9/11. Poitras Decl. ¶ 56.

5
 See Wikipedia, No Fly List, https://en.wikipedia.org/wiki/No_Fly_List (last visited Aug. 24,
2016).



                                                -6-
        Case 1:15-cv-01091-BAH Document 18 Filed 08/24/16 Page 14 of 32




II.    Plaintiff’s FOIA Requests
       On January 24, 2014, counsel, on behalf of Plaintiff, submitted separate requests, by
letter, to FBI, CBP, TSA, DHS, USCIS, ICE, and ODNI pursuant to 5 U.S.C. § 552 for “all
agency records concerning, naming, or relating to Ms. Poitras.” Over the next few months,
ODNI, DHS, USCIS, TSA, and FBI acknowledged Plaintiff’s request, while neither CBP nor
ICE responded to Plaintiff’s requests. See generally Compl., Dkt. 1, ¶¶ 27–30, 37, 40, 49, 52, 58,
67.
       On February 25, 2014, ODNI denied Plaintiff’s FOIA request; Plaintiff appealed the
denial on March 21, 2014, and never received a response from ODNI regarding her appeal.
Compl. ¶¶ 68–69 .
       DHS, USCIS, and TSA each asked Plaintiff to provide additional information to assist
the agency. Plaintiff provided information concerning the specific difficulties she encountered
while traveling on international flights between July 2006 and May 2007, as well her difficulties
while traveling on domestic flights between June or July 2006 and October 2006, to DHS on
March 5, 2014, and to USCIS and TSA on March 19, 2014. On March 26, 2014, DHS advised
that it had referred Plaintiff’s request to the FOIA offices of its components CBP and TSA;
Plaintiff received no further response. Meanwhile, neither USCIS nor TSA acknowledged the
receipt of additional information; both agencies instead responded by sending Plaintiff letters

almost identical to the form letters they had sent to acknowledge receipt of Plaintiff’s FOIA
request and again inviting Plaintiff to provide additional information to assist the agency. On
May 6, 2014, Plaintiff appealed USCIS’s determination that it had no records responsive to her
request, and on July 7, 2014, USCIS denied Plaintiff’s administrative appeal. Compl. ¶¶ 30–32,
40–44, 52–54.
       FBI sent Plaintiff no further response after acknowledging Plaintiff’s request via a form
letter dated February 19, 2014. Over a year later, however, Plaintiff received a letter dated May
21, 2015 from Susan B. Gerson, Assistant Director of the DOJ’s Executive Office for U.S.
Attorneys (“EOUSA”), indicating that FBI had referred Plaintiff’s request to EOUSA and that

                                               -7-
        Case 1:15-cv-01091-BAH Document 18 Filed 08/24/16 Page 15 of 32




EOUSA was denying Plaintiff’s request. Ms. Gerson’s letter indicated that her office had located
only six pages relevant to Plaintiff’s request but that it was withholding in full all six pages
pursuant to Federal Rule of Criminal Procedure 6(e). On May 29, 2015, Plaintiff appealed the
denial of her request to FBI. Compl. ¶¶ 59–60.
III.   Procedural History
       On July 13, 2015, Plaintiff filed this lawsuit under 5 U.S.C. § 552. See Compl.
Defendants filed their answer on August 19, 2015, after which the government’s counsel and
Plaintiff’s counsel conferred regarding a schedule for the various agencies to review, process,
and produce responsive records. See Dkt. 7. FBI ultimately made five interim productions: (i) on
Oct. 14, 2015, FBI released 62 of 145 reviewed pages, withholding 83 pages in full (including 4
pages withheld as duplicative); (ii) on Nov. 10, 2015, FBI released 8 of 8 reviewed pages; (iii) on
Dec. 14, 2015, FBI released 10 of 10 reviewed pages; (iv) on Feb. 16, 2016, FBI released 120 of
124 reviewed pages, withholding 4 pages in full; and (v) on Mar. 4, 2016, FBI released 57 of 57
reviewed pages. See Public Declaration of David M. Hardy, Dkt. 14-1 (“Hardy Decl.”), ¶¶ 12–
16. The vast majority of the pages released are heavily redacted. FBI referred 35 of the withheld
pages to the U.S. Army Criminal Investigation Command (“USACIDC”); on Oct. 2, 2015,
USACIDC released 24 partially redacted pages and withheld 11 pages in full (including 3 pages
as duplicative). See Hardy Decl. ¶ 96. FBI referred 7 of the withheld pages to the Army’s FOIA

Office and 4 of the withheld pages to EOUSA; neither agency has produced any records to
Plaintiff, even in part. See Hardy Decl. ¶¶ 97–98. FBI also referred 25 of the withheld pages
pages to DHS, which referred the pages to CBP for a direct response to Plaintiff; CBP, however,
has not produced these records to Plaintiff.6 See Hardy Decl. ¶ 106 & n. 44.
       CBP made two interim productions: (i) on Nov. 12, 2015, CBP released 712 pages; and
(ii) on Feb. 17, 2016, CBP released 223 pages and withheld in full 3,180 pages. See Declaration
6
 The Hardy Declaration states that these 25 pages were labeled Poitras-289–294, 296–304, 306–
309, 311–344. See Hardy Decl. ¶ 106, n. 44. Plaintiff did not receive any documents from FBI,
DHS, or CBP with these Bates numbers.



                                                 -8-
          Case 1:15-cv-01091-BAH Document 18 Filed 08/24/16 Page 16 of 32




of Sabrina Burroughs, Dkt. 14-3 (“Burroughs Decl.”), ¶¶ 18, 26, 31, 38. The vast majority of the
pages released are partially redacted.
         TSA made a single production on Nov. 12, 2015 of 21 pages.7 See Declaration of Regina
Ann McCoy, Dkt. 14-4, ¶¶ 17, 27.
         On June 6, 2016, Defendants filed their motion for summary judgment. See Dkt. No. 13.
                                           ARGUMENT

I.       FOIA Establishes a Presumption of Disclosure, and the Government Bears the
         Burden of Proving Withheld Information is Clearly Exempt.

         FOIA safeguards the American public’s right to know “what their government is up to.”
Dep’t of Justice v. Reporters Comm., 489 U.S. 749, 773 (1989) (citation and internal quotations
omitted). The central purpose of the statute is “to ensure an informed citizenry, vital to the
functioning of a democratic society, needed to check against corruption and to hold the
governors accountable to the governed.” Nat’l Labor Relations Bd. v. Robbins Tire & Rubber
Co., 437 U.S. 214, 242 (1978).
         FOIA requires disclosure of all requested records unless they fall within one of nine
narrow exemptions. See 5 U.S.C. § 552(b). “‘[T]hese limited exemptions do not obscure the
basic policy that disclosure, not secrecy, is the dominant objective of the Act[.]’” Dep’t of
Interior v. Klamath Water Assn., 532 U.S. 1, 7–8 (2001) (citation omitted, brackets in original);
see also Dep’t of Air Force v. Rose, 425 U.S. 352, 361 (1976) (the purpose of FOIA is “‘to
pierce the veil of administrative secrecy and to open agency action to the light of public
scrutiny’”) (citation omitted). The exemptions “have been consistently given a narrow compass.”
Dep’t of Justice v. Tax Analysts, 492 U.S. 136, 151 (1989). Where exemptions apply, FOIA
requires disclosure of “[a]ny reasonably segregable portion.” 5 U.S.C. § 552(b).
         Disputes involving the propriety of agency withholdings are commonly resolved through
summary judgment in FOIA cases. See Harrison v. Exec. Office of U.S. Attorneys, 377 F. Supp.

7
    Neither ICE, ODNI, DHS, nor CIS produced any responsive records.



                                                -9-
        Case 1:15-cv-01091-BAH Document 18 Filed 08/24/16 Page 17 of 32




2d 141, 145 (D.D.C. 2005). The moving party must show “there is no genuine dispute as to any
material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a);
see also Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). A moving party with the burden of
proof on an issue (here the agency) must show that no reasonable trier of fact could find against
them; but a moving party without the burden of proof (here the requester) need only show an
absence of evidence on the other side. Id. at 323. The underlying facts are viewed “in the light
most favorable to the [FOIA] requester.” Electronic Frontier Foundation v. Dep’t of Justice, 141
F. Supp. 3d 51, 55 (D.D.C. 2015) (“EFF I”), appeal dismissed No. 15-5346, 2016 WL 3041648
(D.C. Cir. Apr. 27, 2016) (brackets word in original) (quoting Weisberg v. Dep’t of Justice, 705
F.3d 1344, 1350 (D.C. Cir. 1983)).
       The agency bears the burden of proving that records have been properly withheld, and
courts review de novo the agency’s withholdings. 5 U.S.C. § 552(a)(4)(B); Reporters Comm.,
489 U.S. at 755. Indeed, the agency must prove the withheld information is “clearly exempt.”
Birch v. USPS, 803 F.2d 1206, 1209 (D.C. Cir. 1986). The agency “must provide a relatively
detailed justification, specifically identifying the reasons why a particular exemption is relevant
and correlating those claims with the particular part of a withheld document to which they
apply.” Mead Data Cent., Inc. v. Dep’t of Air Force, 566 F.2d 242, 251 (D.C. Cir. 1977); see
also Quinon v. Federal Bureau of Investigation, 86 F.3d 1222, 1227 (D.C. Cir. 1996)

(government may not “merely recit[e] statutory standards”); Kamman v. Internal Revenue
Service, 56 F.3d 46, 48 (9th Cir. 1995) (the government “‘may not rely upon conclusory and
generalized allegations of exemptions’”) (citation omitted). These requirements typically are
satisfied through an agency’s submission of an affidavit or declaration describing the basis for its
withholdings and providing justifications for redactions, accompanied by a “Vaughn” index
listing responsive records and indicating the precise redactions made to the records. Vaughn v.
Rosen, 484 F.2d 820, 826–28 (D.C. Cir. 1973) (“Vaughn I”). “To accept an inadequately
supported exemption claim ‘would constitute an abandonment of the trial court’s obligation



                                               - 10 -
        Case 1:15-cv-01091-BAH Document 18 Filed 08/24/16 Page 18 of 32




under the FOIA to conduct a de novo review.’” King v. Dep’t of Justice, 830 F.2d 210, 219 (D.C.
Cir. 1987) (quoting Allen v. Central Intelligence Agency, 636 F.2d 1287, 1293 (D.C. Cir. 1980)).
       As discussed below, FBI’s proffered evidence supporting its withholdings under
Exemption 5 (deliberative process privilege) and Exemption 7 (law enforcement exemption) falls
short of this standard. The government’s declaration lacks the kind of “detailed justification” that
courts interpreting FOIA consistently have required.
II.    FBI Has Improperly Withheld Records Under Exemption 5.
       FBI invokes Exemption 5 for redactions on four pages: Poitras-158, Poitras-159, Poitras-
163, and Poitras-164.8 See Exhibit A (filed herewith). To invoke Exemption 5’s deliberative
process privilege, “an agency must show that an allegedly exempt document is both
‘predecisional’ and ‘deliberative.’” Judicial Watch, Inc. v. U.S. Postal Serv., 297 F. Supp. 2d
252, 259 (D.D.C. 2004) (citations omitted). A “predecisional” document is one that is
“antecedent to the adoption of agency policy.” Jordan v. Dep’t of Justice, 591 F.2d 753, 774
(D.C. Cir. 1978) (en banc). To demonstrate that a claimed exemption is “predecisional,” an
agency must either “pinpoint an agency decision or policy to which the document contributed, . .
. or identify a decisionmaking process to which a document contributed.” Judicial Watch, 297 F.
Supp. 2d at 259 (citations and internal quotations omitted). Meanwhile, a “deliberative”
document is one that is “a direct part of the deliberative process in that it makes

recommendations or expresses opinions on legal or policy matters.” Vaughn v. Rosen, 523 F.2d
1136, 1143–44 (D.C. Cir. 1975) (“Vaughn II”). “Merely factual material is not exempt; the
document must ‘bear on the formulation or exercise of agency policy-oriented judgment.’”
Judicial Watch, 297 F. Supp. 2d at 259 (citing Petroleum Info. Corp. v. Dep’t of Interior, 976

8
 While both the Hardy Declaration and the Government’s memorandum of points and
authorities claim the deliberative process exemption for Poitras-164, see Hardy Decl. ¶ 62; Def.
Mot. at 23, there is no indication on the page itself that any redactions were made pursuant to
Exemption 5. See Exhibit A. In the interest of preserving her objection to any deliberative
process exemptions made on Poitras-164, Plaintiff assumes the privilege assertions contained
within the Hardy Declaration and Government’s brief are accurate.



                                                - 11 -
        Case 1:15-cv-01091-BAH Document 18 Filed 08/24/16 Page 19 of 32




F.2d 1429, 1435 (D.C. Cir. 1992) (emphasis in original)). Thus, deliberative documents are those
“reflecting advisory opinions, recommendations and deliberations comprising part of a process
by which governmental decisions and policies are formulated.” Nat’l Labor Relations Bd. v.
Sears, Roebuck & Co., 421 U.S. 132, 150 (1975) (internal quotations and citations omitted).
       The “first step” in determining whether a document is properly withheld as deliberative
under Exemption 5 “is to examine the context in which the materials are used.” Petroleum Info.
Corp. v. Dep’t of Interior, 976 F.2d 1429, 1434 (D.C. Cir. 1992) (internal citations and
quotations omitted). “Since the applicability of the deliberative process privilege depends on the
content of each document and the role it plays in the decisionmaking process, an agency’s
affidavit must correlate facts in or about each withheld document with the elements of the
privilege.” Judicial Watch, 297 F. Supp. 2d at 259–60. “Without a sufficiently specific affidavit
or Vaughn Index, a court cannot decide, one way or the other, a deliberative process privilege
claim.” Id. at 260 (citations omitted) (emphasis added). To satisfy its burden, an agency must
identify “the particular deliberative process involved,” the “role that the withheld document
played in that deliberative process,” and information concerning the “identities, positions, and
job duties of the authors and recipients of the withheld documents” for the documents withheld.
Electronic Frontier Foundation v. Dep’t of Justice, 826 F. Supp. 2d 157, 169, 170 (D.D.C. 2011)
(“EFF II”).

       “[M]emoranda consisting only of compiled factual material or purely factual material
contained in deliberative memoranda and severable from its context” may not be withheld under
the deliberative process privilege. Environmental Protection Agency v. Mink, 410 U.S. 73, 88–89
(1973), superseded by statute on other grounds. While the rationale behind the deliberative
process privilege encourages candor in deliberative discussions, the requirement that facts must
be disclosed is intended to enhance the integrity of agency deliberations. See Quarles v. Dep’t of
Navy, 893 F.2d 390, 392 (D.C. Cir. 1990) (noting that “the prospect of disclosure is less likely to
make an advisor omit or fudge raw facts”).



                                               - 12 -
        Case 1:15-cv-01091-BAH Document 18 Filed 08/24/16 Page 20 of 32




       Here, FBI has failed to provide the heightened level of contextual specificity necessary to
withhold responsive records under the deliberative process privilege. Indeed, FBI has failed to
identify a specific agency decision to which the redacted paragraphs are predecisional or a
decision-making process to which the redacted paragraphs contributed. See Judicial Watch, 297
F. Supp. 2d at 259. The Hardy Declaration states vaguely that the information in question was an
“intra-agency analysis” in which the New York Field Office “is discussing the results of database
checks conducted to aid in the investigation at issue” and “analyzing, delivering, sorting ideas
and providing recommendations of things to consider for this particular investigation” See Hardy
Decl. ¶ 62. Not only is this impermissibly vague, but it fails to provide the required context into
the specific agency decision or decision-making process of which the redacted paragraphs were
allegedly a part, nor does it satisfy FBI’s burden of identifying for the Court the “the particular
deliberative process involved,” the “role that the withheld [paragraphs] played in that
deliberative process,” and information concerning the “identities, positions, and job duties of the
authors and recipients of the withheld [paragraphs].” See EFF II, 826 F. Supp. 2d at 169, 170.
Moreover, to support the assertion that the redactions on pages Poitras-158, Poitras-159, Poitras-
163, and Poitras-164 fall within the deliberative process privilege, FBI relies solely on the word
“recommendations” within the phrase “Analytical Recommendations” on Poitras-158. See Hardy
Decl. ¶ 62; Def. Mot. at 23. Even if the appearance of the word “recommendations” was enough

to satisfy FBI’s Exemption 5 burden for the redacted paragraphs on pages Poitras-158 and
Poitras-159 immediately preceding the reference (it is not), it would not be sufficient for the
redacted paragraphs on pages Poitras-163 and Poitras-164, which do not fall within the same
section of the document. See Exhibit A.
       Furthermore, “even if the document is predecisional at the time it is prepared, it can lose
that status if it is adopted, formally or informally, as the agency position on an issue or is used by
the agency in its dealings with the public.” Coastal States Gas Corp. v. Dep’t of Energy, 617
F.2d 854, 866 (D.C. Cir. 1980). Here, because FBI has failed to identify a specific decision to



                                                - 13 -
        Case 1:15-cv-01091-BAH Document 18 Filed 08/24/16 Page 21 of 32




which the redacted paragraphs preceded and contributed, the records must be treated as the final
agency positions and, thus, may not be withheld under the deliberative process privilege.
       Finally, for each of FBI’s redactions pursuant to the deliberative process privilege, the
agency simply has redacted complete paragraphs and fails to segregate out any purely factual
material contained in those paragraphs. With multiple consecutive paragraphs redacted in their
entirety on the pages at issue, even assuming that these redacted paragraphs included some
agency judgments, it is a near-certainty that FBI has withheld some purely factual material on
which any such judgments were made. It is well established that the deliberative process
privilege generally does not shield purely factual information from disclosure. See, e.g., Judicial
Watch v. Dep’t of Justice, 365 F.3d 1108, 1113 (D.C. Cir. 2004); Petroleum Info. Corp., 976
F.2d at 1434. Indeed, the purposes underlying the deliberative process privilege are not served by
permitting agencies to shield factual information from disclosure to the public. See Quarles, 893
F.2d at 392. Here, all factual material contained within the agencie’s block redactions is not
properly withheld under Exemption 5. See Citizens for Responsibility & Ethics v. Dep’t of
Homeland Sec., 648 F. Supp. 2d 152, 159 (D.D.C. 2009).
       The Hardy Declaration fails to justify the agency’s broad claims under the deliberative
process exemption and the FBI should thus be ordered to disclose the paragraphs redacted under
Exemption 5.

III.   FBI Has Improperly Withheld Records Under Exemption 7.
       Plaintiff challenges the FBI’s Exemption 7(A), 7(D), and 7(E) withholdings because the
agency has fundamentally failed to make the required threshold showing that the records or
information were complied for law enforcement purposes. Because the FBI has failed to meet the
threshold, the Court need not reach the applicability of the specific criteria set forth in 7(A),
7(D), and 7(E).9

9
  In the Hardy Declaration, the FBI notes that it referred 35 pages of responsive records to United
States Army Criminal Investigation Command (“USACIC”). See Hardy Decl. ¶ 96. Mr. Hardy
references the Declaration of Jon Z. Ali (attached to the Hardy Decl. as Exhibit K, Dkt. 14-1, at


                                                - 14 -
        Case 1:15-cv-01091-BAH Document 18 Filed 08/24/16 Page 22 of 32




       Exemption 7 applies to “records or information compiled for law enforcement purposes,
but only to the extent that the production of such law enforcement records or information” would
have one of the undesirable effects enumerated by the exemption. 5 U.S.C. § 552(b)(7). To
justify a withholding under the exemption, an agency must therefore “demonstrate, as a threshold
matter, that the information it seeks to shield has been ‘compiled for law enforcement
purposes[.]’” King v. Dep’t of Justice, 830 F.2d 210, 229 (D.C. Cir. 1987) (internal quotations
omitted). The D.C. Circuit has laid out a two-part test for determining whether a law-
enforcement agency invoking Exemption 7 has made even the threshold showing: the agency
must (1) “identify a particular individual or a particular incident as the object of its investigation”
and specify “the connection between that individual or incident and a possible security risk or
violation of federal law”; and (2) demonstrate that this relationship is “based on information
sufficient to support at least a ‘colorable claim’ of the connection’s rationality.” Pratt v. Webster,
673 F.2d 408, 420–421 (D.C. Cir. 1982).
       As such, the appropriate inquiry is whether the records indicate that the agency was
gathering information with the good faith belief that the subject may violate or has violated
federal law, or was merely monitoring the subject for purposes unrelated to enforcement of
federal law. See Weissman v. CIA, 565 F.2d 692, 694–95 (D.C. Cir. 1977) (concluding that
the CIA’s “intermittent but extensive investigation over a five-year period of an American

citizen living at home, without his knowledge” was not for “law-enforcement purposes”); see
also Black v. Sheraton Corp. of America, 371 F. Supp. 97, 102 (D.D.C. 1974) (denying
application of Exemption 7 since FBI investigation was not related to law enforcement
proceeding but was conducted simply for intelligence purposes); Lamont v. Dep’t of Justice, 475
F. Supp. 761, 774–76 (S.D.N.Y. 1979) (finding no connection between seventeen years of
generalized monitoring of plaintiff due to his association with various educational and political


pp. 101–05). However, the Declaration of Mr. Ali does not even attempt to satisfy the threshold
that the withheld records were compiled for law enforcement purposes.



                                                - 15 -
        Case 1:15-cv-01091-BAH Document 18 Filed 08/24/16 Page 23 of 32




organizations that enforcement authorities suspected were Communist fronts and “good-faith
enforcement of the Smith Act”). In order to meet the Exemption 7 threshold, “an agency must
establish that its investigatory activities are realistically based on a legitimate concern that
federal laws have been or may be violated or that national security may be breached.” Pratt, 673
F.2d at 421. “[R]ecords compiled ‘in connection with investigations that focus directly on
specific alleged illegal acts which could result in civil or criminal sanctions’ are records
compiled for law enforcement purposes[.]” Shapiro v. Dep’t of Justice, 37 F. Supp. 3d 7, 29
(D.D.C. 2014) (citation omitted; emphasis added).
       The focus of the two-part test is “on how and under what circumstances the requested
files were compiled, and whether the files sought relate to anything that can fairly be
characterized as an enforcement proceeding.’” Shapiro, 37 F. Supp. 3d at 28–29 (citation
omitted). Thus, “FBI records are not law enforcement records simply by virtue of the function
that the FBI serves.” Vymetalik v. Federal Bureau of Investigation, 785 F.2d 1090, 1095 (D.C.
Cir. 1986) (citing Pratt, 673 F.2d at 415 n.14). Indeed, while Congress intended that “law
enforcement purpose” be broadly construed, “it was not meant to include investigatory activities
wholly unrelated to law enforcement agencies’ legislated functions of preventing risks to the
national security and violations of the criminal laws and of apprehending those who do violate
the laws.” Pratt, 673 F.2d at 420–21.

       In Shapiro, 37 F. Supp. 3d at 29, this Court assessed whether another FBI declaration,
also authored by Mr. Hardy, satisfied Exemption 7’s threshold requirement. In that case, Mr.
Hardy stated that responsive records “concern[ed] documents compiled as a result of assistance
FBI rendered to various state and local law enforcement agencies which were investigating
potential criminal activity by protestors [sic] involved with the ‘Occupy’ movement in Houston”;
that FBI maintained the records pursuant to FBI’s “general investigative authority per 28 U.S.C.
§§ 533 and 534,” and its “lead role in investigating terrorism and in the collection of terrorism
threat information”; and that “FBI, acting in concert with state and local law enforcement
agencies, compiled these records while assessing the protests for potential terrorist threats,

                                                 - 16 -
        Case 1:15-cv-01091-BAH Document 18 Filed 08/24/16 Page 24 of 32




including domestic terrorism in violation of 18 U.S.C. § 2331, and other criminal activity, such
as advocating the overthrow of the government in violation of 18 U.S.C. § 2385.” Id. (internal
citations omitted). The Court rejected the Bureau’s claim, finding that “Mr. Hardy’s averments
are too generalized for purposes of Exemption 7.” Id. The Court faulted Mr. Hardy for failing to
“supply specific facts as to the basis for FBI’s belief that the Occupy protestors might have been
engaged in terroristic or other criminal activity” and noted that “[n]either the word ‘terrorism’
nor the phrase ‘advocating the overthrow of the government’ are talismanic, especially where
FBI purports to be investigating individuals who ostensibly are engaged in protected First
Amendment activity.” Id.; cf. Quinon v. Federal Bureau of Investigation, 86 F.3d 1222, 1229
(D.C. Cir. 1996) (rejecting FBI’s invocation of Exemption 7 where the affidavits proffered in
support of FBI’s motion for summary judgment “simply allude to ‘certain events,’ which [FBI]
fail[s] to describe or characterize”).
        Here, just as in Shapiro, the Hardy Declaration fails Pratt’s two-part test for the
Exemption 7 law enforcement threshold. In support of the Exemption 7 withholdings on each of
the 252 redacted pages and 19 withheld pages at issue, the FBI states merely that the withheld
information “was compiled as part of a criminal investigation into Plaintiff’s ‘potential
involvement with anti-coalition forces during her time in Iraq as an independent media
representative.’” Def. Mot. at 24 (citing Hardy Decl. ¶ 64). The reference to this vague and

highly generalized “criminal investigation” is not sufficient to satisfy the government’s burden.
Just as in Shapiro, Mr. Hardy failed to supply specific facts as to the basis of the FBI’s belief that
Plaintiff might have been somehow involved in terroristic or other criminal activity. Shapiro, 37
F. Supp. 3d at 29. In fact, Mr. Hardy’s declaration in this case provides even less factual detail
than the insufficient declaration in Shapiro. Namely, his declaration in Shapiro alleged the
violation of particular statutes but was still found inadequate. See id.
        Here, Mr. Hardy fails even to cite any particular statute(s) that Plaintiff allegedly
violated. Thus, the FBI fails to provide any detail regarding any alleged connection between
Plaintiff or any particular incident and a possible security risk or violation of federal law.

                                                - 17 -
        Case 1:15-cv-01091-BAH Document 18 Filed 08/24/16 Page 25 of 32




Furthermore, the Hardy Declaration fails to provide enough specificity such that the Court could
say that the FBI has established a “colorable claim of rationality” between the object of its
investigation and its asserted law enforcement duties. Pratt, 673 F.2d at 420.
       The FBI’s averments in this case thus do not support a finding that the FBI had good-
faith belief that Plaintiff violated any federal law or posed a legitimate security risk. To the
contrary, it appears that Plaintiff was monitored and harassed for purposes unrelated to
enforcement of federal law—i.e., as a result of her decision to dedicate her journalism and
documentary film career to covering politically controversial topics, which often entails
presenting a critical view of U.S. foreign and domestic policy. Plaintiff’s belief that her extensive
harassment at the U.S. border (and elsewhere) was politically motivated is further buttressed by
the fact that it ceased after Glenn Greenwald brought her harassment to the public’s attention in
his June 2012 Salon.com article.
       This case is thus akin to Lamont, which involved a FOIA request by an individual who
had been subject to years of surveillance after being placed on a “Security Index,” an FBI
surveillance program to monitor the activities of persons considered “inimical to the country’s
internal security,” as a result of his association with educational and political organizations law
enforcement authorities suspected to be Communist. Lamont, 475 F. Supp. at 765–66. The
Lamont court found there to be “no connection” between the seventeen years of generalized

monitoring of the plaintiff and “good-faith enforcement of the Smith Act.” Id. at 775. Here, just
as in Lamont, there is no connection between the six years of Plaintiff’s airport detentions and
heightened security screening and good-faith enforcement of any federal law, and the FBI has
entirely failed to support any such connection.
       The Hardy Declaration fails to demonstrate that the information the Bureau seeks to
shield has been compiled for legitimate “law enforcement purposes,” and the FBI should thus be
ordered to disclose the information withheld under Exemptions 7(A), (D) and (E).
IV.    FBI and CBP Have Failed to Segregate and Release Non-Exempt Information.
       Even when a responsive record contains exempt information, the FOIA explicitly

                                                - 18 -
        Case 1:15-cv-01091-BAH Document 18 Filed 08/24/16 Page 26 of 32




requires that “[a]ny reasonably segregable potion of [the] record shall be provided to any person
requesting such record after deletion of the portions which are exempt[.]” 5 U.S.C. § 552(b); see
Oglesby v. Dep’t of Army, 79 F.3d 1172, 1176 (D.C. Cir. 1996) (“If a document contains exempt
information, the agency must still release ‘any reasonably segregable portion’ after deletion of
the nondisclosable portions.”). The segregability requirement “applies to all documents and all
exemptions in the FOIA.” Center for Auto Safety v. Environmental Protection Agency, 731 F.2d
16, 21 (D.C. Cir. 1984). As with all aspects of FOIA litigation, the burden is on the government
to “provide a ‘detailed justification’ for its non-segregability.” Johnson v. Exec. Office for U.S.
Attorneys, 310 F.3d 771, 776 (D.C. Cir. 2002) (citation omitted). This includes “a statement of
[the government’s] reasons,” and a “descri[ption of] what proportion of the information in a
document is non-exempt and how that material is dispersed throughout the document.” Mead
Data Cent., 566 F.2d at 261. Simply claiming that a segregability review has been conducted is
insufficient. Oglesby, 79 F.3d at 1180. Furthermore, district courts have an “affirmative duty to
consider the segregability issue sua sponte.” Trans-Pac. Policing Agreement v. U.S. Customs
Serv., 177 F.3d 1022, 1028 (D.C. Cir. 1999).
       FBI and CBP have provided nothing more than “empty invocation[s] of the segregability
standard” that the Court must reject. See Judicial Watch, Inc. v. Dep’t of Homeland Security, 841
F. Supp. 2d 142, 161 (D.D.C. 2012); see also Stolt-Nielsen Transp. Grp. Ltd. v. United States,

534 F.3d 728, 734 (D.C. Cir. 2008) (holding that a “conclusory” declaration that the agency
paralegal had “reviewed each page line-by-line to assure himself that he was withholding from
disclosure only information exempt pursuant to the Act” was “not sufficient support for a court
to conclude that the self-serving conclusion is the correct one”). The government’s motion
essentially reiterates the language that the Judicial Watch court rejected, stating that “CBP has
conducted a line-by-line review of the records determined to be response and determine that all
reasonable segregable portions of the responsive records have been released to Plaintiff” and that
FBI has determined that the information withheld was either exempt itself or “so intertwines with
non-exempt information” that segregation was not possible (even for the withheld pages it

                                                - 19 -
        Case 1:15-cv-01091-BAH Document 18 Filed 08/24/16 Page 27 of 32




referred to other agencies, some of which were in fact partially released by USACIDC). See
Judicial Watch, 841 F. Supp. 2d at 161; Def. Mot. at 33–34 (citing Burroughs Decl. ¶ 52; Hardy
Decl. ¶ 110.). Meanwhile, USACIDC, which withheld 11 pages in full (pages referred from FBI
to the agency), states merely that “[e]very effort was made to provide Plaintiffs with all material
in the public domain and with reasonable segregable portions of releasable material.” See
Declaration of Jon Z. Ali (Exhibit K to Hardy Decl.) ¶ 4; see also Hardy Decl. ¶ 96. These
statements are conclusions, not the detailed explanations FOIA requires. The FBI, CBP, and
USACIDC have together withheld over 3,200 pages of responsive records in their entirety, in
addition to large blocks of redacted text on the majority of the released pages, thus concealing
entire sentences, paragraphs, and pages from public disclosure. It is a near certainty that the
agencies have withheld more information than is otherwise justifiable. In any event, despite their
assertions that they have complied with FOIA’s segregability requirement, the agencies have not
satisfied their burden and are not entitled to summary judgment.
V.     CBP Has Failed to Conduct a Sufficient Search for Records.
       Where, as here, the requester challenges the adequacy of the agency’s search for
responsive records, in order to prevail on summary judgment, “the agency must demonstrate
beyond material doubt that its search was reasonably calculated to uncover all relevant
documents.” Nation Magazine v. U.S. Customs Serv., 71 F.3d 885, 890 (D.C. Cir. 1995) (internal

quotations and citations omitted). An agency must demonstrate that it searched for documents in
good faith, using methods that are reasonably expected to produce the requested information.
Valencia-Lucena v. U.S. Coast Guard, 180 F.3d 321, 326 (D.C. Cir. 1999) (citing Oglesby v.
Dep’t of Army, 920 F.2d 57, 68 (D.C. Cir. 1990)).
       In response to the agency’s showing, a “plaintiff may . . . provide ‘countervailing
evidence’ as to the adequacy of the agency’s search.” Duenas Iturralde v. Comptroller of the
Currency, 315 F.3d 311, 314 (D.C. Cir. 2003) (quoting Founding Church of Scientology of
Washington, D.C., Inc. v. Nat’l Sec. Agency, 610 F.2d 824, 836 (D.C. Cir. 1979)). If the plaintiff
provides “sufficient evidence to raise ‘substantial doubt’ concerning the adequacy of [the

                                               - 20 -
        Case 1:15-cv-01091-BAH Document 18 Filed 08/24/16 Page 28 of 32




agency’s] search,” particularly when there is a ‘“well defined request[] and positive indications
of overlooked materials,’ summary judgment is inappropriate.” Id. at 314 (quoting Valencia-
Lucena, 180 F.3d at 326); see also Concepcion v. U.S. Customs & Border Prot., 767 F. Supp. 2d
141, 145-146 (D.D.C. 2011).
       Here, Defendant DHS is not entitled to summary judgment because its component, CBP,
has failed to demonstrate that it conducted an adequate search for responsive records. “The court
applies a ‘reasonableness’ test to determine the ‘adequacy’ of a search methodology,” and if “the
record leaves substantial doubt as to the sufficiency of the search, summary judgment for the
agency is not proper.” Campbell v. Dep’t of Justice, 164 F.3d 20, 27 (D.C. Cir. 1998) (citations
and internal quotation marks omitted). In this case, CBP’s search is suspect for two distinct
reasons: (1) the Burroughs Declaration does not contain the requisite specificity with respect to
the search; and (2) there are “positive indications of overlooked material.” See Duenas Iturralde,
315 F.3d at 314.
       First, there are “positive indications of overlooked materials.” Duenas Iturralde, 315 F.3d
at 314; see also Valencia-Lucena, 180 F.3d at 326; Concepcion, 767 F. Supp. 2d at 145–46. Most
significantly, it is undisputed that on about ten occasions, CBP agents searched and copied
Plaintiff’s reporter notebooks and/or the contents of her pockets and wallet, including
handwritten notes, credit cards, receipts, and business cards. Poitras Decl. ¶ 52. In light of the

fact that the produced documents fail to include any such photocopies, the agency’s
unsubstantiated assertion that it conducted an adequate search cannot withstand judicial scrutiny.
As the D.C. Circuit has long emphasized, the adequacy of an agency’s search “is judged by a
standard of reasonableness and depends, not surprisingly, upon the facts of each case.” Weisberg
v. Dep’t of Justice, 745 F.2d 1476, 1485 (D.C. Cir. 1984) (citation omitted). In conducting the
requisite analysis, “the underlying facts and the inferences to be drawn from them are construed
in the light most favorable to the FOIA requester.” People for the Ethical Treatment of Animals,
Inc. v. Bureau of Indian Affairs, 800 F. Supp. 2d 173, 177 (D.D.C. 2011) (citation and internal
quotation marks omitted).

                                                - 21 -
        Case 1:15-cv-01091-BAH Document 18 Filed 08/24/16 Page 29 of 32




       Furthermore, CBP provides minimal detail about the electronic searches conducted,
stating only that CBP personnel “performed searches on relevant databases within those systems
using Plaintiff’s name and date of birth” and failing to provide the specific search terms utilized.
See Burroughs Decl. ¶ 5. CBP further fails to provide any detail regarding the search criteria and
methods employed for the paper and electronic searches conducted at CBP’s New York field
office, stating merely that “CBP searched paper files and performed an electronic search on
email records using Plaintiff’s name and other relevant search terms.” Id. (emphasis added).
Recognizing that such vague representations do not aid the court in conducting a de novo review
of an agency’s search efforts, the D.C. Circuit has long required agency declarations to identify
the specific “search terms” employed by agency personnel conducting search for responsive
records. See Oglesby, 920 F.2d at 68 (“A reasonably detailed affidavit, setting forth the search
terms and the type of search performed, and averring that all files likely to contain responsive
materials (if such records exist) were searched, is necessary to afford a FOIA requester an
opportunity to challenge the adequacy of the search and to allow the district court to determine if
the search was adequate in order to grant summary judgment.”) (emphasis added); see also
Ancient Coin Collectors Guild v. Dep’t of State, 641 F.3d 504, 514 (D.C. Cir. 2011); Valencia-
Lucena, 180 F.3d at 326; Nation Magazine, 71 F.3d at 890.

       This Court has found agency representations similar to those at issue here deficient. In
Judicial Watch v. Dep’t of Homeland Sec., 857 F. Supp. 2d 129, 140 (D.D.C. 2012), the agency
declaration “omit[ted] necessary details regarding the searches of several component offices,”
including “the search terms used by [several] offices” and “how the search was conducted.” The
Court held that “[u]nder the law of this Circuit, the omission of such information from the
agency declarations precludes the entry of summary judgment in the [agency’s] favor.” Id.
(footnote and citations omitted); see also Friends of Blackwater v. Dep’t of the Interior, 391 F.
Supp. 2d 115, 119–121 (D.D.C. 2005) (“Without evidence in the agency’s affidavit of the



                                               - 22 -
        Case 1:15-cv-01091-BAH Document 18 Filed 08/24/16 Page 30 of 32




specific search terms used to carry out the search, . . . the Court finds that the agency’s search . . .
was inadequate.”).
        The lack of search terms and a description of “how the search was conducted” makes it
impossible for Plaintiff or the Court to assess the adequacy of CBP’s efforts. CBP’s failure to
describe its search efforts with the requisite specificity strongly suggests that the agency’s search
did not “us[e] methods that are reasonably expected to produce the requested information,”
Concepcion, 767 F. Supp. 2d at 145, and was not “reasonably calculated to uncover all relevant
documents.” Nation Magazine, 71 F.3d at 890. Indeed, it appears from the Burroughs
Declaration that common sense methods—such as searching for Plaintiff’s passport number,
phone numbers, variations of Plaintiff’s name, and common name misspellings—were not
employed by the CBP personnel that performed searches on the TECS and ATS databases. And
the record’s meager description of the agency’s search efforts makes it impossible to determine
whether such common sense search methods were employed on the records contained within
CBP’s New York field office.
        Under the facts of this case, the Court should find that CBP’s search was not “reasonably
calculated to uncover all relevant documents” and was thus inadequate. Summary judgment for
the agency is thus inappropriate. See Nation Magazine, 71 F.3d at 890.

                                           CONCLUSION

        For the foregoing reasons, the Court should deny the government’s motion for summary
judgment and grant Plaintiff’s cross-motion for summary judgment.

Dated: August 24, 2016                              Respectfully Submitted,

                                                     /s/ David L. Sobel           l
                                                    DAVID L. SOBEL
                                                    D.C. Bar No. 360418
                                                    Electronic Frontier Foundation
                                                    5335 Wisconsin Avenue, N.W.
                                                    Suite 640
                                                    Washington, DC 20015
                                                    (202) 246-6180


                                                 - 23 -
Case 1:15-cv-01091-BAH Document 18 Filed 08/24/16 Page 31 of 32




                               NATHAN D. CARDOZO
                               D.C. Bar No. 1018696
                               JENNIFER LYNCH
                               (Admitted in California)
                               JAMIE WILLIAMS
                               (Admitted in California)
                               Electronic Frontier Foundation
                               815 Eddy Street
                               San Francisco, CA 94109
                               (415) 436-9333

                               Counsel for Plaintiff
                               Laura Poitras




                             - 24 -
Case 1:15-cv-01091-BAH Document 18 Filed 08/24/16 Page 32 of 32



                                NATHAN D. CARDOZO
                                D.C. Bar No. 1018696
                                JENNIFER LYNCH
                                (Admitted in California)
                                JAMIE WILLIAMS
                                (Admitted in California)
                                Electronic Frontier Foundation
                                815 Eddy Street
                                San Francisco, CA 94109
                                (415) 436-9333

                                Counsel for Plaintiff
                                Laura Poitras




                             -2-
